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               IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF TENNESSEE
                           WESTERN DIVISION
 _____________________________________________________________________

 RUSSELL GREGORY, III,
 in his capacity as Guardian of
 ASHLEY KEIKO GREGORY, a Minor
 the surviving heir of
 MARY L. FISHER, deceased,

             Plaintiff,

                                      Case No. ______________________
 vs.

 UNITED STATES OF AMERICA,

             Defendant.
 ________________________________________________________________________

                               COMPLAINT
 ________________________________________________________________________

       Plaintiff Russell Gregory, III is the duly appointed Guardian of

 Ashley Keiko Gregory, a minor. Said minor is the sole beneficiary of her

 mother, Mary L. Fisher, deceased. This action is for breach of policy of

 accidental life insurance.   (Accidental Means Death Benefits – AD&D

 under the FEGLI policy).

                                   I. PARTIES

       1.    Russell Gregory, III is the duly appointed Guardian of Ashley

 Keiko Gregory, a minor.      Said minor is the sole beneficiary of Mary

 Fisher, deceased.
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        2.        Defendant is the United States of America.    Said policy is

 administered during at all relevant times by the Office of Federal

 Employees’ Group Life Insurance.

                              II. JURISDICTION AND VENUE

        3.        This court is vested with original jurisdiction inasmuch as

 this suit names the United States as Defendant. Venue is appropriate in

 this district.

        4.        This action is timely filed.

                                         III. FACTS

        5.        Mary Fisher was employed by the United States Marshal’s

 Service (USMS), and served 14 years as a deputy U. S. Marshal.

        6.        Mary Fisher as a federal employee was entitled to employee

 benefits. Among those benefits was life insurance. Fisher was covered

 under the Federal Employees’ Group Life Insurance, Group Policy

 No.20060700456, which provided for payment of death benefits and a

 separate amount for accidental death benefits. Defendant has paid the

 death benefits, but has denied payment of the accidental death benefits.

        7.        Mary Fisher died on May 14, 2006, as a result of violent,

 external and accidental means.              Her death was not the result of

 intentional and voluntary actions on her part. Specifically, Mary Fisher

 was encountered by an overzealous Memphis City police officer, who

 approached her car with gun drawn, and who shot and killed her.

 Plaintiff asserts that the killing of Mary Fisher was not due to the actions


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 or inactions of Mary Fisher. She had not committed a felony. The officer

 had no reason to pursue her.         The actions of the Memphis Police

 Department officer in any case were violent, external and accidental, for

 which Mary Fisher should not be found to have acted with intent.

 Moreover, Mary Fisher did not voluntarily engage in hazardous conduct.

       8.    Plaintiff has made claim for payment for Mary Fisher’s

 accidental means death benefits to the Office of Federal Employees’

 Group Life Insurance, which office administrates the federal employees’

 life insurance program.

       9.    Said office has denied the claim. Said denial is a breach of

 contract.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff brings this

 action for breach of contract against the United States of America, and

 demands the following relief:

       1.    Judgment declaring that the accidental means life benefits

 are due to be paid to the heir of Mary L. Fisher, namely Ashley Keiko

 Gregory, her daughter, a minor.

       2.    Monetary judgment for the accidental death benefits,

 together with pre-judgment interest.

       3.    Attorney’s fees and court costs, and all other relief to which

 Plaintiff may be entitled in the premises.

                                        Respectfully Submitted,

                                        /s/ Kathleen L. Caldwell, #9916


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